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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


NORMAN G. STONE,                      )
         Plaintiff                    )       CIVIL ACTION NO.: 07-12327PBS
                                      )
v.                                    )
                                      )
JOHN RUIZ,                            )
               Defendant              )

           MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION
          TO COMPEL RESPONSE TO INTERROGATORY NUMBER 9
          OF STONE’S FIRST SET OF INTERROGATORIES TO RUIZ

       The plaintiff offers the following facts and authorities in support of his motion to

compel responses to Interrogatory No. 9.

INTERROGATORY NO. 9

        What representations were made by the defendant to the Family Division Court in
or about Las Vegas, Nevada in the matter of Ruiz vs. Ruiz relating to money you paid to
the plaintiff, stating herein and identifying with particularity whether you:

a.      Relied upon payments made to plaintiff and, if so, list what payments were made
given the time and place and method of payment;

b.      Asserted and or relied upon any of the payments you made, or were owed, to the
plaintiff as it related to and or effected your monetary liability to your ex-wife;

c.     Filed an affidavit relating to said concessions;

d.     Made the representation(s) orally or in writing, and setting forth herein what was
spoken or written; and

e.     Whether you were sworn in and made the representations under oath; and

f.      Directed, or heard, your attorney to make any similar representations in the
identified proceedings.
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RESPONSE NO. 9

       Subject to the General Objections identified above, John Ruiz responds as

follows: upon information and belief, Stone is referring to statements allegedly made

during a settlement conference, which are inadmissible. Additionally, the record in the

divorce case is under seal. Accordingly, this Interrogatory is not reasonably calculated to

lead to the discovery of any admissible evidence. Federal Rule of Evidence 408(a)(2)

prohibits the use of statements made in compromise negotiations regarding a claim

(which covers settlement conferences) as evidence of the party’s liability for a disputed

claim. The First Circuit Court of Appeals has held that this Rule is meant to promote the

public policy of dispute resolution outside the courtroom. See generally McInnis v.

A.M.F., Inc., 765 F.2d 240, 247 (1st Cir. 1985).

ARGUMENT REGARDING RESPONSE NO. 9

1.     Any objections (general or otherwise) that the defendant might have had to the

plaintiff’s interrogatories were waived as a result of his having served his objections

beyond the thirty-day period allowed under Fed. R. Civ. P. 34(b). The plaintiff served his

First Set of Interrogatories on or about August 14, 2008. The defendant’s responses

and/or objections were due to be served within thirty days. Thirty days passed without

any responses and/or objections being served. The defendant did not serve his responses

to document requests until December 1, 2008.

       The defendant might argue that motions were pending at various times in the fall

of 2008 relieving him of an obligation to respond to the plaintiff’s document requests.1


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       The plaintiff sought to amend his complaint on August 11, 2008 (Docket No. 39).
The motion was opposed (Docket Nos. 44-46). The Court denied the motion to amend
on September 16, 2008. On November 12, 2008, the defendant filed another motion to

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That argument would be wrong. There was no stay of discovery entered by the Court

while any motions were pending. Further, between August 14, 2008 and December 1,

2008, the defendant made no request for an extension of time to respond to document

requests. There was no written stipulation of the parties extending the time for serving

responses to document requests as per Fed. R. Civ. P. 34(b) and Fed. R. Civ. P. 29. The

defendant made no request to the Court for an extension under Fed. R. Civ. P. 34(b).

       The defendant’s failure to answer within the thirty-day period effectuated a

waiver of any objections which he might have had to the document requests. Local Rule

34.1(c)(1) explicitly provides, in pertinent part, that “[a]ny ground not stated in an

objection within the time provided by the Federal Rules of Civil Procedure, or any

extensions thereof, shall be deemed waived.”

2.     The defendant’s public policy argument against the discovery of the requested

material is misplaced. On March 17, 2008, the plaintiff submitted to the Court an

Affidavit of Sahara Ruiz (Docket No. 21) in which the defendant’s ex-wife stated that

there was a video recording of the settlement conference in their Nevada divorce case and

that the defendant was on record making certain representations to the Court regarding

his assets, including payments he had made to the plaintiff as his manager, trainer, and

cut man. At a minimum, Request No. 1 is reasonably calculated to lead to the discovery

of admissible evidence on the issue of the reasonable value of the plaintiff’s services to

the defendant.

       Federal Rule of Civil Procedure 26 states that “[r]elevant information need not be

admissible at the trial if the discovery appears reasonably calculated to lead to the


dismiss the Plaintiff’s First Amended Complaint (Docket No. 56). The Court denied the
defendant’s motion on November 26, 2008.

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discovery of admissible evidence.” Courts have found that Rule 408 does not apply to

discovery requests; it only limits the introduction at trial of evidence regarding settlement

negotiations. Morse/Diesel, Inc. v. Fidelity and Deposit Co., 122 F.R.D.447, 449

(S.D.N.Y. 1988) (“’The policy of allowing open and free negotiations between parties by

excluding conduct or statements made during the course of these discussions is not

intended to conflict with the liberal rules of discovery embodied in the Federal Rules of

Civil Procedure . . . Therefore, a party is not allowed to use Rule 408 as a screen for

curtailing his adversary’s rights of discovery.’”) (quoting 2 J. Weinstein & M. Berger,

Evidence P 408[1] at 408-15 to 408-16 (1986)); Center for Auto Safety v. U.S. Dep’t of

Justice, 576 F. Supp. 739, 749 n.23 (D.D.C. 1983) (“While [Rule 408’s] intent is to foster

settlement negotiations, the sole means chosen to effectuate that end is a limitation on

their admission . . . for the purpose of proving liability at trial, not the application of a

broad discovery privilege. Otherwise, parties would be unable to discover compromised

offers which could be offered for a relevant purpose.”). See Ameristar Jet Charter, Inc. v.

Signal Composites, Inc., 244 F.3d 189, 193 (1st Cir. 2001) (“The Supreme Court has long

recognized that the Federal Rules of Civil Procedure are to be construed liberally in favor

of discovery.”) (citing Hickman v. Taylor, 329 U.S. 495, 507, 91 L. Ed. 451, 67 S. Ct.

385, 34 Ohio Op. 395 (1947)); In re Lernout & Hauspie Sec. Litig., 214 F. Supp. 2d 100,

107 (D. Mass. 2002).

        There is no need to determine whether the videotape of the settlement conference

is admissible pursuant to Rule 408. It is enough to determine that its discovery may lead

to evidence admissible at trial.




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       For the foregoing reasons, the Court should grant the plaintiff’s motion and

require the defendant and/or his attorneys to pay to the plaintiff the reasonable expenses

incurred in making this motion, including attorneys’ fees, pursuant to Fed. R. Civ. P.

37(a)(4)(A).


                                               Respectfully submitted,
                                               The Plaintiff, Norman Stone,

                                               By his Attorneys,


                                               /s/ Nicholas S. Guerrera
                                               Nicholas S. Guerrera, BBO#551475
                                               Shaheen, Guerrera & O'Leary, LLC
                                               Jefferson Office Park
                                               820A Turnpike Street
                                               North Andover, MA 01845
                                               (978) 689-0800


                                               /s/ Paul J. Anthony
                                               Paul J. Anthony, BBO#630872
                                               92 Montvale Avenue, Suite 2100
                                               Stoneham, Massachusetts 02180
Dated: January 20, 2009                        (781) 438-0555



                             CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
on this 20th day of January 2009.

                                               /s/ Nicholas S. Guerrera
                                               Nicholas S. Guerrera




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